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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

    LATICIA NORWOOD, on behalf of                §
    herself and all others similarly situated,   §
                                                 §
           Plaintiff,                            §         CIVIL ACTION
                                                 §
    v.                                           §         CASE NO. ___________________
                                                                     5:18-cv-1294
                                                 §
    TENET HEALTHCARE CORP. and                   §         JURY TRIAL DEMANDED
    BAPTIST HEALTH SYSTEM,                       §
                                                 §
           Defendants.                           §

                                         INTRODUCTION

          1.     Plaintiff Laticia Norwood (“Plaintiff”) brings this class and collective action on

behalf of herself and other similarly situated individuals who have worked for Tenet Healthcare

Corp. and Baptist Health System (collectively “Defendants”) as nurses, nurse aides, nurse

assistants, and other non-exempt hourly employees1 who were subject to an automatic time

deduction for meal periods at any time beginning three years before the filing of this complaint

until resolution of this action. Throughout the relevant time period of this action, Plaintiff and

similarly situated nurses have been denied payment for all hours worked, including overtime, were

subject to improper deductions from wages, and were denied bona fide meal periods. This case

implicates the longstanding policy of Defendants, which fails to properly compensate non-exempt

employees for work during meal periods and for work performed while “off-the-clock.”

          2.     Employers are not required to pay employees for meal periods if the employer can

satisfy its burden of demonstrating the employee received a bona fide meal period which primarily

benefits the employee. Defendants do not provide bona fide meal periods for its nurses who are

responsible for patient care. Nurses who work for Defendants are required to remain responsible

for patient care throughout their shift and are expected to perform duties while “off-the-clock.”

1
  While the precise job titles may differ, Plaintiff hereinafter uses the term “nursing staff”
interchangeably in referencing any of these similarly situated employees.
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Instead of making nurses clock out for their meal periods then clock back in at the end of a meal

period, Defendants assume nurses are able to find a 30-minute block of time to enjoy a bona fide

meal period. In fact, this does not typically occur. Nonetheless, Defendants deduct 30 minutes

from nurses’ shifts for a meal period, when in fact nurses remain on duty and are continuously

subject to interruption during that time. Defendants instituted policies and practices that result in

nurses being responsible for patient care throughout their shift, even when they attempt to have a

bite to eat.

        3.     Defendants’ policies and practices result in nurses being denied wages due under
the Fair Labor Standards Act and Texas common law. Under this policy, non-exempt nurses

involved in direct patient care are not completely relieved of duties during meal periods and are

denied pay for those on-duty meal periods. Defendants continue to require nurses responsible for

direct patient care to remain on duty and subject to interruptions during meal breaks.

        4.     Defendants violated the FLSA and state law by knowingly and willfully permitting

Plaintiff and Collective and Class members to perform work and/or remain on duty during their

meal breaks, subjecting them to interruptions during their meal breaks. Plaintiff and Collective and

Class members also performed work before clocking in and after clocking out for which they were

not compensated. Defendants had notice that Plaintiff and Collective and Class members expected
to be paid for their work on an hourly basis. Defendants received the value of Plaintiff and

Collective and Class members’ work performed during their meal periods and while “off-the-

clock” without compensating them for their services. Defendants willfully, deliberately, and

voluntarily failed to pay Plaintiff and Collective and Class members for work performed.

        5.     Defendants’ conduct violated and continues to violate the FLSA because of the

mandate that non-exempt employees, such as Plaintiff and the putative Class members, be paid at

one and one-half times their regular rate of pay for all hours worked in excess of forty within a

single workweek. See 29 U.S.C. § 207(a).

        6.     Defendants’ conduct violated and continues to violate Texas state law because

Defendants’ conduct constitutes wage theft, as that term is understood under Texas common law.

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        7.      In addition, Plaintiff and Collective and Class members were and are required to

work additional time outside of their scheduled shifts to keep up with the demands of the job.

Defendants were and are aware that Plaintiff and Collective and Class members perform this off-

the-clock work, but does not pay them at the applicable hourly and overtime rates for this work

time. This practice likewise violated and continues to violate the FLSA and Texas state law.

        8.      Therefore, Plaintiff files this action to recover on behalf of herself and Class and

Collective members, all unpaid wages, compensation, penalties, and other damages owed to them

under the FLSA and state law, individually, as a 29 U.S.C. § 216(b) collective action, and as a
class action under Federal Rule of Civil Procedure 23, in order to remedy the sweeping practices

which Defendants have integrated into their time tracking and payroll policies and which have

deprived Plaintiff and Collective and Class members of their lawfully-earned wages.

                     SUBJECT MATTER JURISDICTION AND VENUE

        9.      This court has federal question jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1331 as this case is brought under the laws of the United States, specifically

the FLSA, 29 U.S.C. § 201, et seq. This Court has supplemental jurisdiction over Plaintiff’s state-

law claims pursuant to 28 U.S.C. § 1367.

        10.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391. The events

giving rise to Plaintiff’s claims occurred within this judicial district. Defendants reside in this

judicial district and are subject to personal jurisdiction here.

                                              PARTIES

        11.     Plaintiff Laticia Norwood is an individual residing in San Antonio, Texas. Ms.

Norwood was employed as a nurse by Defendants at the Northeast Baptist Hospital from October

2002 through March 2018.

        12.     The FLSA Collective Class members are people who are or who have been

employed by Defendants as nurses, nurse aides, nurse assistants, and other similar hourly and non-

exempt employees in the United States that have been subject to an automatic time deduction by



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Defendants within the three years preceding the filing of this Complaint (collectively referred to

herein as “nursing staff”).

          13.   The Texas Class members are people who are or who have been employed by

Defendants as nurses, nurse aides, nurse assistants, and other similar hourly and non-exempt

employees in the State of Texas that have been subject to an automatic time deduction by

Defendants within the four years preceding the filing of this Complaint.

          14.   Defendant Tenet Healthcare Corp. is a corporation that has been licensed and doing

business in Texas with its principal place of business at 1445 Ross Avenue, Suite 1400, Dallas,
Texas 75202. Defendant owns, leases, and/or operates hospitals throughout Texas and the United

States, including Baptist Health System. Defendant may be served with process by serving its

registered agent, C T Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

          15.   Defendant Baptist Health System in an assumed name, operating under Defendant

Tenet Healthcare Corp. At all relevant times, Baptist Health System’s principal place of business

is 215 East Quincy Street, Suite 200, San Antonio, Texas 78215, and may be served by serving

any officer with citations and a copy of this Complaint at 215 East Quincy Street, Suite 200, San

Antonio, Texas 78215.

          16.   Defendants jointly own and operate hospitals throughout Texas and the United
States.

          17.   At all material times, Defendants have been employers within the meaning of the

FLSA under 29 U.S.C. § 203(d).

          18.   At all material times, Defendants have been an enterprise within the meaning of the

FLSA under 29 U.S.C. § 203(r).

          19.   Plaintiff and Collective and Class members were and are employees of Defendants

within the meaning of 29 U.S.C. § 203(e).

          20.   At all material times, Defendants have been an enterprise in commerce or in the

production of goods for commerce within the meaning of 3(s)(1) of the FLSA because Defendants

have had and continue to have employees engaged in commerce. 29 U.S.C. § 203(s)(1).

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         21.   Defendants acted as joint employers of Plaintiff and Collective and Class members

because all Defendants jointly, directly or indirectly, controlled the employment terms, pay

practices, timekeeping practices, and daily work of Plaintiff and similarly situated employees.

         22.   Here, Defendants have had, and continue to have, an annual gross business volume

of not less than $500,000, thereby exceeding the statutory standard. 26 U.S.C. § 203(s)(1)(A)(ii).

         23.   In addition to Plaintiff, Defendants have employed numerous other employees, who

like Plaintiff, are medical care staff engaged in interstate commerce. Further, Defendants are

engaged in interstate commerce since they order supplies across state lines, conduct business deals
with merchants across state lines, and process patient credit cards with banks in other states.

         24.   At all material times, Plaintiff and Collective and Class members were employees

who engaged in commerce or in the production of goods for commerce as required by 29 U.S.C.

§ 207.

                                              FACTS

         25.   Defendants operate a network of hospitals and medical care facilities throughout

Texas and the United States.

         26.   Defendants employ hundreds of hourly non-exempt workers similar to Plaintiff

across these medical facilities.

         27.   Defendants employ a payroll policy of not compensating nursing staff for work

performed during their meal periods, subjecting them to interruptions and requiring them to remain

on duty during those meal periods. Nursing staff are encouraged by Defendants to manually clock

out for their meal periods, even though they remain on-duty and working during that time. If a

nursing staff member does not manually clock out for their meal break, Defendants apply the

automatic time deduction policy. This policy applies to all hourly-paid, non-exempt nursing staff

who are responsible for patient care.

         28.   Interruptions occur in multiple ways. One way in which Defendants encourage

interruptions is by requiring nursing staff to carry an electronic communication device with them



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during their shifts so they may receive calls/requests from their patients and hospital personnel.

Nursing staff are required to respond to these calls.

       29.     In practice, nursing staff who remain on premises during their meal periods are not

permitted to take a 30-minute uninterrupted and bona fide meal break due to the demands of their

jobs during the majority of their shifts. In the rare instances where they attempt a meal or rest break

while on premises, they remain on duty in that they are required to respond to calls from their

patients, doctors, patients’ families, other nurses and hospital staff, attend to the normal demands

of the job, and otherwise respond to emergencies.
       30.     Plaintiff was employed by Defendants as a nurse in the Northeast Baptist Hospital

location in San Antonio during the last three (3) years. Plaintiff worked as a non-exempt nurse for

Defendants between October 2002 and March 2018, and her regular hourly rate of pay was $32.55

per hour during her employment. As a nurse, Plaintiff’s primary responsibilities included:

providing patient care and monitoring, administering medicine to patients, interacting with other

hospital employees and visitors, monitoring blood-work and patient test results, and responding to

emergency situations. Plaintiff was subjected to Defendants’ time, pay, meal break, and overtime

policies and practices. Plaintiff routinely performed work during her entire shift, was subject to

interruptions during attempted meal and rest breaks, and in fact was interrupted or denied meal
and rest breaks on a regular basis. Plaintiff also performed work while “off-the-clock” with

Defendant’s knowledge and was denied compensation for the time she spent engaged in this work.

       31.     Plaintiff’s and Collective and Class members’ “off-the-clock” work included

restocking supplies, preparing and organizing equipment, monitoring patients, assisting other

hospital staff, charting, and performing other various tasks performed before clocking in and after

clocking out for the day. Plaintiff and Collective and Class members were not compensated for

this work performed outside of their recorded hours.

       32.     Collective and Class members were and are employed by Defendants and

performed work materially similar to Plaintiff.



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         33.   Plaintiff and Collective and Class members report to a hospital or clinical facility

owned, operated, or managed by Defendants to perform their jobs.

         34.   Plaintiff and Collective and Class members perform their jobs under Defendants’

supervision and using materials and technology approved and supplied by Defendants.

         35.   Plaintiff and Collective and Class members are required to follow and abide by

common work, time, pay, meal and rest break, and overtime policies and procedures in the

performance of their jobs.

         36.   At the end of each pay periods, Plaintiff and Collective and Class members receive
wages from Defendants that were determined by common systems and methods that Defendants

selected and controlled.

         37.   Defendants pays Plaintiff and Collective and Class members on an hourly rate

basis.

         38.   Plaintiff work more than forty hours in at least one workweek during the three years

before this Complaint was filed.

         39.   Each FLSA Collective members worked more than forty hours in at least one

workweek during the three years before this Complaint was filed. On average, Plaintiff worked 12

to 13 hours each shift and between 48 and 52 hours per week.
         40.   Each Class members worked more than forty hours in at least one workweek during

the four years before this Complaint was filed.

         41.   When Plaintiff and Collective and Class members worked more than forty hours in

a workweek, Defendants did not pay them one and one-half times their regular hourly rate due to

their failure to include time worked during meal periods and “off-the-clock” work in the total hours

of worked in a given work week. This unpaid time is compensable under the FLSA because (1)

Plaintiff and Collective and Class members were not completely relieved of their duties, (2) they

were interrupted or subject to interruptions with work duties during any attempted meal period, or

(3) they entirely skipped the meal and rest periods due to work demands.



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       42.     Throughout the relevant time period, Defendants expected and required Plaintiff

and Collective and Class members to be available to work during their entire shifts, even during

any attempted on-premises meal or rest breaks. These 30-minute intervals of deducted time

constitute compensable time under the FLSA, which requires that employers compensate

employees for all time worked. They also constitute compensable time under Texas state law

because (1) Defendants breached an implied agreement with Plaintiff and Rule 23 Class Members

by not paying them the agreed hourly rate for all hours worked, or, in the alternative, (2)

Defendants received and accepted the value of Plaintiff and Class Members’ unpaid work with
reasonable notice that Plaintiff and Class members expected to be paid for all hours worked, or, in

the alternative, (3) Defendants have been unjustly enriched by receiving the benefits of Plaintiff’s

and Class Members’ unpaid work.

       43.     Defendants have employed hundreds of people similarly situated to Plaintiff during

the four-year period prior to the filing of this Complaint.

       44.     Defendants’ method of paying Plaintiff and Collective and Class members was

willful, and was not based on a good faith and reasonable belief that their conduct complied with

either the FLSA or Texas law.

                       FLSA COLLECTIVE ACTION ALLEGATIONS

       45.     Plaintiff brings this Complaint as a collective action pursuant to 29 U.S.C. § 216(b)

on behalf of the following class of individuals:
               All current and former hourly, non-exempt employees,
               including but not limited to nurses, nursing aides, nursing
               assistants or other employees with similar job duties employed
               by Defendants nationwide and subjected to an automatic time
               deduction policy during the time period three years prior to the
               filing of the original Complaint until resolution of this action
               (the “Collective”).
       46.     Defendants have not compensated these employees for the unpaid meal breaks and

“off-the-clock” work as described above.




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       47.     Per 29 U.S.C. § 216(b), this action may be brought as an “opt-in” collective action

for the claims asserted by Plaintiff because her claims are similar to the claims possessed by FLSA

Class members.

       48.     Plaintiff has actual knowledge that FLSA Class members have been denied

compensation for time worked, including meal breaks worked or interrupted and “off-the-clock”

work. In addition, Plaintiff has actual knowledge that FLSA Class members have also been denied

overtime pay for this work and would therefore likely join this collective action if provided a notice

of their rights to do so, together with a clear statement that opting to join such an action would not
result in termination or other forms of retaliation.

       49.     Plaintiff is similarly situated to FLSA Class members. Like Plaintiff, Defendants

subjected FLSA Class members to its common practice, policy, or plan of refusing to pay overtime

for all work performed in clear violation of the FLSA.

       50.     Other nursing staff similarly situated to Plaintiff work, or have worked, for

Defendants but were not paid overtime at the rate of one and one-half times their regular hourly

rate when those hours exceeded forty per workweek for meal breaks during which they were not

completely relieved of their duties that were interrupted, interruptible, or entirely missed due to

work demands. Other nursing staff similarly situated to Plaintiff also performed compensable work
while “off-the-clock,” and were not paid overtime at the rate of one and one-half times their regular

hourly rate for those “off-the-clock” hours.

       51.     Although Defendants permitted and/or required Collective members to work in

excess of forty hours per workweek, Defendants have denied them full compensation for their

hours worked over forty for meal breaks that were interrupted due to work demands and for “off-

the-clock” work.

       52.     Collective members perform or have performed the same or similar work as

Plaintiff involving patient care.

       53.     Collective members regularly work or have worked in excess of forty hours during

a workweek.

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       54.     Collective members are not exempt from receiving overtime compensation under

the FLSA.

       55.     Defendants’ failure to pay overtime compensation as required by the FLSA resulted

from generally applicable policies and practices, and did not depend on the personal circumstances

of Collective members.

       56.     Although Plaintiff and Collective members may have different job titles and/or

work in different hospital facilities, this action may be properly maintained as a collective action

on behalf of the defined class because, throughout the relevant time period:
               a. Defendants maintained common scheduling systems and policies with respect

                   to Plaintiff and Collective members, controlled the scheduling systems and

                   policies implemented throughout their facilities and retained authority to review

                   and revise or approve the schedules assigned to Plaintiff and Collective

                   members;

               b. Defendants maintained common timekeeping systems and policies with respect

                   to Plaintiff and Collective and Collective members;

               c. Defendants maintained common payroll systems and policies with respect to

                   Plaintiff and Collective members, controlled the payroll systems and policies
                   applied to Plaintiff and Collective members, and set the pay rates assigned to

                   Plaintiff and Collective members; and

               d. Defendants controlled the meal break and rest break work policies and practices

                   at issue in this litigation and had the ability to deprive Plaintiff and Collective

                   members of wages owed for meal break and rest break work they performed.

       57.     The specific job titles or precise job responsibilities of each Class member does not

prevent collective treatment.

       58.     Collective members, irrespective of their particular job requirements, are entitled

to overtime compensation for hours worked in excess of forty during a workweek for interrupted,

interruptible, or missed meal breaks.

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       59.     Collective members, irrespective of their particular job requirements, are entitled

to overtime compensation for hours worked “off-the-clock” in excess of forty during a workweek.

       60.     Although the exact amount of damages may vary among Collective members, the

damages for Collective members can be easily calculated, summed, and allocated based on a

simple formula.

       61.     Plaintiff and Collective members’ claims arise from a common nucleus of operative

facts; namely, the continued and willful failure of Defendants to comply with their obligation to

legally compensate their employees. Liability is based on a systematic course of wrongful conduct
by Defendants that caused harm to all Collective members. Defendants had a plan, policy or

practice of not paying Plaintiff and Collective members for interrupted, interruptible, or missed

meal and rest breaks, as well as work performed “off-the-clock.”

       62.     As such, the class of similarly situated Plaintiffs is properly defined as stated above.

Plaintiff estimates the Collective, including both current and former employees over the relevant

time period, will include upwards of 1,000 people or more. The precise number of Collective

members should be readily available from Defendants’ personnel, scheduling, time and payroll

records, and from input received from Collective members as part of the notice and “opt-in”

process provided by 29 U.S.C. § 216(b). The names and addresses of the Collective members are
discoverable from Defendants’ records. Given the composition and size of the Collective, notice

may be provided via First Class Mail, e-mail, text message, and other modes of notice similar to

those customarily used in representative actions.

                          RULE 23 CLASS ACTION ALLEGATIONS

       63.     Plaintiff brings causes of action as a class action on behalf of herself and all others

similarly situated pursuant to Federal Rule of Civil Procedure 23(a) and (b)(3). The Texas Class

that Plaintiff seeks to represent is defined as follows:
               All current and former hourly, non-exempt employees,
               including but not limited to nurses, nursing aides, nursing
               assistant, or other employees with similar job duties employed
               by Defendants in Texas and subjected to an automatic time

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               deduction policy at any time starting four years prior to the
               filing of this Complaint until resolution of this action.
       64.     This action has been brought and may properly be maintained as a class action

because there is a well-defined community of interest in the litigation and the proposed class is

easily ascertainable.

       65.     Numerosity: The potential members of the class are so numerous that joinder of all

the members of the Class is impracticable. Plaintiff is informed and believes that the number of

Texas Class members exceeds 100. This volume makes bringing the claims of each individual

member of the class before this Court impracticable. Likewise, joining each individual member of

the Texas Class as a plaintiff in this action is impracticable. Furthermore, the identities of the Texas

Class will be determined from Defendants’ records, as will the compensation paid to each of them.

As such, a class action is a reasonable and practical means of resolving these claims. To require

individual actions would prejudice the Texas Class and Defendants.

       66.     Commonality: There are questions of law and fact common to Plaintiff and the

Texas Class that predominate over any questions affecting only individual members of the Class.

These common questions of law and fact include, but are not limited to:

                         i. Whether Defendants had a policy and practice of requiring nurses to

                            remain on duty during meal breaks by subjecting them to interruptions;

                        ii. Whether remaining available to tend to patient health and safety issues
                            provides a valuable service to Defendants;

                        iii. Whether Defendants directed, required, requested, and/or permitted

                            Plaintiff and Texas Class members to work during unpaid meal breaks;

                        iv. Whether Defendants knew or should have known that Plaintiff and

                            Texas Class members were not compensated for work performed during

                            unpaid meal breaks;

                        v. Whether Defendants directed, required, requested, and/or permitted

                            Plaintiff and Texas Class members to work while “off-the-clock”;


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                      vi. Whether Defendants knew or should have known that Plaintiff and

                          Texas Class members were not compensated for work performed “off-

                          the-clock”;

                     vii. Whether agreements existed between Plaintiff and Texas Class

                          members concerning payment for work performed during unpaid meal

                          breaks, and whether Defendants breached such agreements;

                    viii. Whether Defendants derived a benefit from the nurses being required to

                          respond to the needs of patients during their unpaid meal periods
                          pursuant to professional codes of conduct and hospital policies;

                      ix. Whether valuable services were rendered to Defendants by the Plaintiff

                          and Texas Class members during unpaid meal break times, and whether

                          Defendants accepted the benefit of Plaintiff’s and Texas Class

                          members’ unpaid services;

                       x. Whether Defendants were unjustly enriched by Plaintiff’s and Texas

                          Class members’ unpaid work; and

                      xi. The proper measure of damages, including whether the reasonable value

                          of such services can be based on the agreed hourly rate of pay.
       67.     Typicality: Plaintiff’s claims are typical of the claims of the Texas Class because

Plaintiff’s claims arise from the same course of conduct and legal theories as the claims of the

Texas Class members. Like the Texas Class members, Plaintiff worked as a nurse for Defendants

in the class definition during the relevant time period. Like the Texas Class members, Plaintiff was

subject to the identical company-wide policy requiring nursing staff to remain on duty during meal

periods that are taken on-premises, and were subject to interruptions during such times. Like the

Texas Class members, Plaintiff was subject to the same professional code of conduct and company

policies requiring nurses to tend to the care of their patients even during the unpaid meal periods.

The other facts outlined above likewise apply equally to both the Plaintiff and Texas Class

members.

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       68.     Adequacy of Representation: Plaintiff seeks declaratory relief for the past and

prospective state law violations that were perpetrated by Defendants. In that sense, Plaintiff does

not have any conflicts of interest with other Texas Class members and will prosecute the case

vigorously on behalf of the Texas Class. Counsel representing Plaintiff is competent and

experienced in litigating complex cases and large class actions, including wage and hour cases.

Plaintiff will fairly and adequately represent and protect the interests of the Texas Class members.

       69.     Superiority of Class Action: A class action is superior to other available means for

the fair and efficient adjudication of this controversy. Individual joinder of all proposed Texas

Class members is not practicable, and questions of law and fact common to the Texas Class

predominate over any questions affecting only individual members of the Texas Class. Each

proposed Texas Class member has been damaged and is entitled to recovery by reason of

Defendants’ illegal policies and/or practices. Class action treatment will allow those similarly

situated persons to litigate their claims in the manner that is most efficient and economical for the

parties and the judicial system.

       70.     In the alternative, the Texas Class may be certified because the prosecution of

separate actions by the individual members of the Texas Class would create a risk of inconsistent

or varying adjudication with respect to individual members of the Texas Class which would

establish incompatible standards of conduct for Defendants.

       71.     If each individual Texas Class member was required to file an individual lawsuit,

Defendants would necessary gain an unconscionable advantage because Defendants would be able

to exploit and overwhelm the limited resources of each member of the Texas Class with

Defendants’ vastly superior financial legal resources.

       72.     Requiring each individual Texas Class member to pursue an individual remedy

would also discourage the assertion of lawful claims by the Texas Class members who would be

disinclined to pursue these claims against Defendants because of an appreciable and justifiable

fear of retaliation and permanent damage to their lives, careers and well-being.



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                                 COUNT ONE:
                          VIOLATIONS OF 29 U.S.C. § 207
                 FAILURE TO PAY OVERTIME COMPENSATION FOR
                    IMPROPER AUTOMATIC TIME DEDUCTIONS
                          (FLSA COLLECTIVE ACTION)
       73.     Plaintiff incorporates all allegations contained in the foregoing paragraphs.

       74.     Plaintiff and Collective members, Defendants’ employees, are similarly situated

individuals within the meaning of the FLSA, 29 U.S.C. § 216(b).

       75.     The FLSA requires each covered employer to compensate all non-exempt

employees at a rate of not less than one and one-half times their regular hourly rate for all hours
worked in excess of forty hours per week.

       76.     Throughout the relevant time period, Defendants expected and required Plaintiff

and Collective members to be available to work and/or to be on duty during their promised meal

and rest breaks. Plaintiff and Collective members also performed work off-the-clock for which

they were not compensated.

       77.     Plaintiff and Collective members have been harmed as a direct and proximate result

of Defendants’ unlawful conduct because they have been deprived of wages owed for work they

performed and from which Defendants derived a direct and substantial benefit.

       78.     Defendants cannot satisfy their burden of proof to demonstrate Plaintiff and
Collective members received a bona fide meal period for every 30 minutes deducted from their

wages automatically.

       79.     Defendants violated and continue to violate the FLSA when they fail to pay Plaintiff

and Collective members under 29 U.S.C. § 207 as non-exempt employees. Because of these

violations, Plaintiff and Collective members have suffered a loss of wages.

       80.     Defendants’ failure to pay overtime to Plaintiff and Collective members, in

violation of the FLSA, was willful and not based on a good faith belief that their conduct did not

violate the FLSA. The foregoing conduct, as alleged, constitutes a willful violation of the FLSA

within the meaning of 29 U.S.C. § 255(a). Accordingly, a three-year limitations period should

apply to Plaintiff and Collective and FLSA Class members’ claims.

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       81.     Because of Defendants’ willful violation, Plaintiff and Collective members are also

due an additional equal amount as liquidated damages pursuant to 29 U.S.C. § 216(b).

       82.     Plaintiff and Collective members are further entitled to reasonable attorneys’ fees

and costs of the action in addition to any judgment awarded.
                           COUNT TWO:
                   VIOLATIONS OF 29 U.S.C. § 207
FAILURE TO PAY OVERTIME COMPENSATION FOR “OFF-THE-CLOCK” WORK
                    (FLSA COLLECTIVE ACTION)
       83.     Plaintiff incorporates all allegations contained in the foregoing paragraphs.

       84.     Throughout the relevant time period, Defendants suffered and/or permitted Plaintiff

to work additional time outside of her shift for work-related tasks. These tasks included, but were

not limited to, monitoring patients, assisting hospital personnel, reviewing or completing charting,

and restocking supplies.

       85.     Plaintiff was actively discouraged from logging time outside the parameters set by

Defendants. However, due to the demands of the job, Plaintiff routinely performed work-related

tasks outside of her scheduled shift, before she clocked in and after she clocked out. Upon

information and belief, Defendants treated Collective members similarly with respect to “off-the-

clock” work.
       86.     Accordingly, consistent with the policies and procedures set up by Defendants,

Plaintiff performed work for which she was not compensated. Defendants’ policies and practices

favored Defendants at the expense of Plaintiff and Collective members.

       87.     Defendants violated and continue to violate the FLSA when they failed to pay

Plaintiff and Collective members for “off-the-clock” work under 29 U.S.C. § 207 as a non-exempt

employee. Because of these violations, Plaintiff and Collective members suffered wage losses

during weeks where the total time worked (logged and unlogged) exceeded forty hours.

       88.     Defendants’ failure to pay overtime to Plaintiff and Collective members, was

willful and not based on a good faith belief that their conduct did not violate the FLSA. The

foregoing conduct, as alleged, constitutes a willful violation of the FLSA within the meaning of

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29 U.S.C. § 255(a). Accordingly, a three-year limitations period should apply to Plaintiff and

Collective members’ claims.

        89.      Because of Defendants’ willful violation, Plaintiff and Collective members are also

due an additional equal amount as liquidated damages pursuant to 29 U.S.C. § 216(b).

        90.      Plaintiff and Collective members are further entitled to reasonable attorneys’ fees

and costs of the action in addition to any judgment awarded.
                                       COUNT THREE
                                     QUANTUM MERUIT
                                 FAILURE TO PAY OVERTIME
                                   (TEXAS CLASS ACTION)
        91.      Plaintiff incorporates all allegations contained in the foregoing paragraphs.

        92.      Plaintiff and Texas Class members performed valuable services for Defendants

during their unpaid meal break periods.

        93.      Plaintiff and Texas Class members performed valuable services while “off-the-

clock” for which they were not compensated.

        94.      These services had a reasonable value of no less than the agreed hourly rate.

        95.      Defendants accepted and retained the benefit of Plaintiff’s and Texas Class

members’ performance of these valuable services.
        96.      No written contract exists between Plaintiff and Defendants, and Texas Class

members and Defendants, regarding the provision of services during unpaid on-premises meal

break periods.

        97.      Defendants had reasonable notice and/or knowledge that Plaintiff and Texas Class

members expected to be compensated for services rendered for Defendants.

        98.      Defendants failed to pay Plaintiff and Texas Class members the reasonable value

of the services performed during unpaid meal break periods and while “off-the-clock.”

        99.      Plaintiff and Texas Class members are entitled to recover damages under this claim

for the last four years.



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        100.    Plaintiff and Texas Class members are entitled to attorney’s fees and costs under

this claim pursuant to Texas Civil Practice and Remedies Code § 38.001.
                                     COUNT FOUR
                                MONEY HAD AND RECEIVED
                                 (TEXAS CLASS ACTION)
        101.    Plaintiff incorporates all allegations contained in the foregoing paragraphs.

        102.    Defendants received money from its patients and their agents for the work

performed by Plaintiff and Texas Class members during their unpaid on-premises meal breaks and

while “off-the-clock,” while Defendants refused to pay Plaintiff and Texas Class members for such

work.

        103.    Defendants hold money that in equity and good conscience belongs to Plaintiff and

Texas Class members due to Defendants’ refusal to pay Plaintiff and Texas Class members for all

hours worked.

        104.    Plaintiff and Texas Class members are entitled to recover damages under this claim.

        105.    Plaintiff and Texas Class members are entitled to declaratory relief finding

Defendants violated Texas law.

        106.    Plaintiff and Texas Class members are entitled to attorney’s fees and costs under

this claim pursuant to Texas Civil Practice and Remedies Code § 37.009.
                                        COUNT FIVE
                                    UNJUST ENRICHMENT
                                   (TEXAS CLASS ACTION)
        107.    Plaintiff incorporates all allegations contained in the foregoing paragraphs.

        108.    Defendants have been unjustly enriched at the expense of Plaintiff and Texas Class

members by refusing to pay for work performed by Plaintiff and Texas Class members during

unpaid meal periods and for work performed while “off-the-clock.”

        109.    Defendants knowingly and/or intentionally accepted the benefit of the work

performed by Plaintiff and Texas Class members during unpaid on-premises meal periods and

work performed while “off-the-clock,” despite Defendants’ policy and practice of failing to pay

Plaintiff and Texas Class members for such work. In particular, Defendants received the benefit

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of the labor and services provided to Defendants’ customers (patients) by the Plaintiff and Texas

Class members.

         110.   Such wrongful conduct demonstrates bad faith and undue advantage on the part of

Defendants.

         111.   It would be unjust and inequitable for Defendants to retain the benefit of the unpaid

work performed by Plaintiff and Texas Class members.

         112.   Defendants should be ordered to disgorge those benefits to Plaintiff and the Texas

Class.
         113.   Plaintiff and Texas Class members are also entitled to declaratory relief finding

Defendants violated Texas law.

         114.   Plaintiff and Texas Class members are further entitled to attorney’s fees and costs

under this claim pursuant to Texas Civil Practice and Remedies Code § 37.009.

                                        RELIEF SOUGHT

         115.   Plaintiff and Collective members are entitled to recover their unpaid overtime wage

compensation.

         116.   Plaintiff and Collective members are also entitled to an amount equal to all of their

unpaid wages due under the FLSA as liquidated damages. 29 U.S.C. § 216(b).

         117.   Plaintiff and Collective members are entitled to recover attorneys’ fees and costs as

required by the FLSA. 29 U.S.C. § 216(b) and Texas Civil Practice and Remedies Code § 37.009

and § 38.001.

         118.   Plaintiff and Collective members are entitled to declaratory relief stating

Defendants’ policies and practices as described herein are unlawful and in violation of the FLSA.

         119.   Plaintiff and Texas Class members are entitled to recover damages flowing from

the reasonable value of the services they provided, all monies held by Defendants that rightfully

belong to Plaintiff and Texas Class members, the value by which Defendants were unjustly

enriched by receiving the unpaid labor, attorney’s fees and costs, pre-judgment and post-judgment

interest as provided by Texas law, and such other relief the Court deems fair and equitable.

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       120.    Plaintiff and Texas Class members are entitled to declaratory relief stating

Defendants’ actions as described herein were and are unlawful.

                                         JURY DEMAND

       121.    Plaintiff hereby requests a trial by jury.

                                             PRAYER

       122.    For these reasons, Plaintiff and Collective and Class members respectfully request

that judgment be entered in their favor awarding the following relief:

                       i. An order preventing Defendants from retaliating in any way against

                           Plaintiff and any putative Class member who joins or elects not to opt-

                           out of the present suit based on their pursuit of these claims alleged

                           herein;

                      ii. An order designating this action as a collective action on behalf of the

                           FLSA Class and issuance of notice pursuant to 29 U.S.C. § 216(b) to all

                           similarly situated individuals;

                      iii. An order finding that Defendants violated the FLSA;

                      iv. An order finding Defendants’ violated the FLSA willfully;

                       v. All unpaid wages due under the FLSA;

                      vi. An equal amount as liquidated damages as allowed under the FLSA;

                     vii. Reasonable attorneys’ fees, costs, and expenses of this action as

                           provided by the FLSA;

                    viii. An order certifying this case as a Class Action under Rule 23 of the

                           Federal Rules of Civil Procedure;

                      ix. An order finding that Defendants violated Texas law;

                       x. All unpaid regular wages due under Texas law to the extent same does

                           not duplicate regular wages due under the FLSA;

                      xi. Disgorgement of Defendants’ ill-gotten gains as described herein;

                     xii. All attorneys’ fees, costs and disbursements as provided by Texas law;

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                    xiii. Pre- and post-judgment interest as provided by Texas law; and

                    xiv. Such other and further relief to which Plaintiff and Collective and Class

                          members may be entitled at law or in equity.

Dated: December 10, 2018.



                                                           /s/William M. Hogg
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